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    1                          UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
    2                                SOUTHERN DIVISION
                                         _   _   _
    3
          UNITED STATES OF AMERICA,
    4
                         Plaintiff,
    5
             v.                                         Case No. 21-20264
    6
          YLLI DIDANI,
    7
                      Defendant.
    8     __________________________________/

    9                        JURY TRIAL - VOLUME 16 - EXCERPT
                           Continued Testimony of Donald Larson
   10                     BEFORE THE HONORABLE DENISE PAGE HOOD
                               UNITED STATES DISTRICT JUDGE
   11

   12                    Theodore Levin United States Courthouse
                              231 West Lafayette Boulevard
   13                               Detroit, Michigan
                                Thursday, March 13, 2025
   14

   15     APPEARANCES:

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   24
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    1      Detroit, Michigan

    2      Thursday, March 13, 2025

    3      2:43 p.m.

    4                                        _     _   _

    5                 (Beginning of excerpt.)

    6                 THE COURT:     And, Mr. Larson, you're still under oath,

    7     but I'd ask you to state your name again for the record.

    8                 THE WITNESS:     Donald Larson.

    9                 THE COURT:     Okay.

   10                 MR. FINK:    Thank you, Judge.

   11                 Nice to meet you guys.

   12                          CROSS-EXAMINATION (Continued)

   13     BY MR. FINK:

   14     Q.   Mr. Larson, my name is Wade Fink.             I might -- I'm going to

   15     try very hard not to retread over some of the questions, but I

   16     might need to reorient it with some of the questions you've

   17     already been asked.      So forgive me if I need to do that.

   18                 Mr. Larson, you were asked some of this but to be

   19     clear, you've been convicted previously of a drug crime,

   20     correct?

   21     A.   Yes.

   22     Q.   That was in 1992; right?

   23     A.   Yes.

   24     Q.   And it was possession with intent to deliver over 650 grams

   25     of cocaine; is that correct?


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    1     A.   Yes.

    2     Q.   And one of the things I was a little unclear about is you

    3     said you got life.      Do you remember that?

    4     A.   Yes.

    5     Q.   Okay.   And you got out and paroled after a certain period

    6     of time; right?

    7     A.   Yes.

    8     Q.   Okay.   You remember when you were arrested on September

    9     10th of 2019, you explained to the agents that you were

   10     interviewed, you saw some of those clips, you explained to them

   11     that you got busted by the feds and because you couldn't help

   12     them you ended up facing life in prison; right?

   13     A.   Yes.

   14     Q.   So they shipped you off to the state; right?

   15     A.   Yes, sir.

   16     Q.   Threw you to the wolves; right?

   17     A.   Yes, sir.

   18     Q.   That's what you said; right?

   19     A.   Yeah, pretty much.

   20     Q.   And I've got to imagine that experience left you bitter

   21     towards the federal government; is that accurate?

   22     A.   I was bitter at everything, but I got over it.

   23     Q.   This time you had something to offer the federal

   24     government; correct?

   25     A.   Yes.


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    1     Q.   Were you aware of how long the federal government had been

    2     investigating you with regard to this alleged activity?

    3     A.   I did not.

    4     Q.   Mr. Didani asked you a few questions about this, but to be

    5     clear, you weren't aware that you were -- that Lisa Schmidt was

    6     being followed, were you?

    7     A.   No.

    8     Q.   Who is Lisa Schmidt?

    9     A.   She was a girl I dated -- a woman.

   10     Q.   You're aware that there's dozens of pages of reports about

   11     the various dates you would go on?

   12     A.   I was not.

   13     Q.   Did they tell you they were following your girlfriends?

   14     A.   No.

   15     Q.   Did they tell you they were following you to restaurants

   16     with them?

   17     A.   No.

   18     Q.   Didn't tell you they weren't finding anything, they didn't

   19     tell you at all; right?

   20     A.   Right.

   21     Q.   Some of their reports did they tell you -- I think

   22     Mr. Didani asked you, you wear wearing a Tigers hat.                Did they

   23     ever tell you they were watching what your clothing was?

   24     A.   The only time I wore a Tigers hat was when I went to a

   25     Tigers game.


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    1     Q.   Did they win?

    2     A.   When I went to the Tigers game, that's the only time I --

    3     Q.   Did they win that game?

    4     A.   I don't -- probably not.         Back then I don't think so.

    5     Q.   You -- they tell you they wrote reports about your parking

    6     habits, whether you backed into a spot or pulled in frontwards?

    7     A.   Not at all.

    8     Q.   When you were pulled over, are you aware if the agents or

    9     police that pulled you over found any contraband in your car?

   10     A.   They didn't, no.

   11     Q.   You didn't have any --

   12     A.   No, I don't think they did no.           I didn't have anything.

   13     Q.   You didn't have any narcotics in your car?

   14     A.   No.   I was going to work.

   15     Q.   Did you have any drug ledgers about your investments in

   16     narcotics?

   17     A.   No.

   18     Q.   And after that interview that you had discussed, do you

   19     recall that one of the agents that was present that you were

   20     being released with the concurrence of United States Attorney

   21     Mark Bilkovic, do you remember that?

   22     A.   I was being released --

   23     Q.   With the concurrence or the agreement of Mark Bilkovic, the

   24     U.S. Attorney, the prosecutor.          Do you remember that?

   25     A.   I'm not sure what -- where you're getting.


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    1     Q.   If you don't remember you don't remember.                Do you remember

    2     being told generally that the reason you were being released is

    3     because the prosecutors were okay with it?

    4     A.   Yes.

    5     Q.   Now during that first interview you recall Detective

    6     Brandon Leach was present; right?

    7     A.   Yes.

    8     Q.   Detective -- well, it's Agent Derek Newsome, he was the one

    9     in the middle.     Do you remember that?

   10     A.   Yes.

   11     Q.   And another agent, Agent Tsouroullis, he was sitting on the

   12     left from your advantage point?

   13     A.   If that was his name, I don't recall.

   14     Q.   There was three of them.

   15     A.   The white-haired guy?

   16     Q.   Yes.

   17     A.   Okay.   Yeah.

   18     Q.   Well, Detective Leach, he was the one on the right.               Do you

   19     remember the one on the right wearing a hat?

   20     A.   Yes.

   21     Q.   Do you remember he was the one who began the interview?

   22     He's the one who started talking to you first.                Do you remember

   23     that?

   24     A.   Vaguely, yeah -- yes.

   25     Q.   When the official interview began; right?


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    1     A.   Yes.

    2     Q.   And do you recall that he talked for a few minutes before

    3     you were asked any questions?

    4     A.   No, I don't recall.

    5     Q.   Let me see if this refreshes your recollection.                Do you

    6     remember the first part of the interview explaining to you that

    7     they wanted the people above you?           Do you remember that?

    8     A.   Yes.

    9     Q.   Do you remember him saying that you already got a second

   10     chance rebuilding your life, you don't want to ruin that?

   11     A.   Right, yes.

   12     Q.   This was before you were asked a single question; right?

   13     A.   Right.

   14     Q.   You don't want to go back to prison until you're 80, you

   15     remember that?

   16     A.   After I saw the video, yes.

   17     Q.   Now you remember that?

   18     A.   Yes.

   19     Q.   Do you remember the 270 K in back taxes?

   20     A.   I don't remember that at all.

   21     Q.   Before you answered a single question there was pressure

   22     being applied to you to give them information; right?

   23     A.   Yes.

   24     Q.   That's how you perceived it, is it not?

   25     A.   Of course, yes.


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    1     Q.   The first thing you said when asked to waive certain rights

    2     and discuss them, do you remember this, you said I'm not going

    3     to sign anything.     You want to bullshit, we'll bullshit.             Do

    4     you remember saying that?

    5     A.   No, but it's probably something I would say.

    6     Q.   It sounds like you?

    7     A.   Yeah.

    8     Q.   All right.    That general response though, you recall saying

    9     you'd have a conversation, something of that nature?                Maybe not

   10     those exact words.

   11     A.   Yes, yes.

   12     Q.   Do you recall early in the interview when you were asked

   13     about your relationship with Mr. Tibbitts and Mr. Didani that

   14     you said, quote, I didn't want to know anything, end quote.                  Do

   15     you remember that?

   16     A.   Yes.

   17     Q.   That was true; right?        You didn't want to know anything

   18     about what they --

   19     A.   I really didn't.      I was trying to be straight after I got

   20     out of prison.     I was working hard.         I didn't want anything to

   21     do with drugs.

   22     Q.   In fact, you were asked about the alleged debt that

   23     Mr. Didani owed.     Do you remember that thing about owing some

   24     Mexicans?    Do you remember that discussion?

   25     A.   Yes.


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     1    Q.   In fairness, and this is not to place blame on you, but is

     2    it true the first thing you said you didn't want to know why he

     3    needed that money?       That's what you told agents the first time;

     4    right?

     5    A.   When I was being evasive, yes.

     6    Q.   Evasive or not, that's the first thing you told them;

     7    right?

     8    A.   Yes.

     9    Q.   I don't know why he needed that money.                He needed to know

    10    someone with wealth, and I put him together with Mr. Tibbitts.

    11    Is that accurate?      I'm paraphrasing.

    12    A.   Probably, yeah.

    13    Q.   Not probably.      Did you give them -- generally speaking, was

    14    the answer to the question about what the connection between

    15    Mr. Tibbitts, you, and Mr. Didani was, the initial answer was

    16    Mr. Didani needed money and you put him together with

    17    Mr. Tibbitts.     Is that generally accurate?

    18    A.   Yes.

    19    Q.   Okay.    But you didn't know why is what you said in the

    20    first interview.

    21    A.   It's what I said.

    22    Q.   And you expressed some frustration in that interview,

    23    correct, that you're helping out your friends and you're not

    24    getting anything in return; right?

    25    A.   Yes.


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     1    Q.   I think you said something along the lines of, "Dude, I got

     2    no money, help me with something, a car payment"; right?

     3    A.   Yes.

     4    Q.   And you told agents in that first interview that your

     5    instruction to Mr. Didani was not to tell me shit, he always

     6    tried to tell me shit and I didn't want to know shit.                Do you

     7    remember that?

     8    A.   Yes.

     9    Q.   And a lot of what Mr. Tibbitts and Mr. Didani were doing,

    10    is it true, you actually found out from Belinda Tibbitts;

    11    right?

    12    A.   About the money, yes.

    13    Q.   About everything that Mr. Tibbitts and Mr. Didani's

    14    relationship you told agents you had found out from

    15    Belinda Tibbitts; right?

    16    A.   I knew some of it because we all got together.

    17    Q.   Sure.

    18    A.   Some of it from -- about the money, how much Marty sent

    19    overseas and all that, that's when I found out from Belinda.

    20    Q.   Originally when you were asked to cash checks for

    21    Mr. Tibbitts, you told the agents that your only instruction

    22    from Marty Tibbitts was just to give the money to Lou; right?

    23    A.   Yes.

    24    Q.   And you told agents you don't know what happened to the

    25    money, right, in the first interview?


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     1    A.   Yes.

     2    Q.   And you expressed some frustration to the agents that

     3    Mr. Tibbitts wouldn't invest in you yet here he is sending

     4    $500,000 to Albania; right?

     5    A.   Yes.

     6    Q.   And when you were pressed upon by Detective Leach, correct

     7    me if I'm wrong, he said you're mitigating, Lou sent you -- Lou

     8    being allegedly Mr. Didani -- sent photos of cocaine.                    Do you

     9    remember him pushing you on that?

    10    A.   Vaguely, yes.

    11    Q.   And you said all that about the money was before I got

    12    these texts.     Do you remember that?

    13    A.   No.

    14    Q.   Do you remember receiving a check from Mr. Tibbitts for

    15    Tealstone Properties?

    16    A.   Yes.

    17    Q.   That was the Government's Exhibit 13; right?                    Of course,

    18    you can look at it.

    19                MR. BILKOVIC:      It's not 13 point anything or what?

    20                THE COURT:     He has an exhibit book up here; is that

    21     correct?

    22                MR. McDONALD:      He has that exhibit book that I

    23     prepared.    I don't believe that exhibit is in that book, but it

    24     has been admitted.

    25                THE COURT:     But 18 is admitted though; right?              Yeah.


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     1     Okay.

     2                MR. FINK:    I should've asked you, Judge, but I just

     3     put 13 up.    Is that all right?

     4                THE COURT:     That's fine, yes.

     5    BY MR. FINK:

     6    Q.   Do you remember looking at this check, Mr. Larson?

     7    A.   What's the amount of --

     8    Q.   This is in the amount of $100,000, and in the memo line it

     9    says "gym investment" and in the "pay of the order to" line it

    10    says "Tealstone Properties, LLC."            Do you see that?

    11    A.   Yes.

    12    Q.   Tealstone Properties, LLC, was that an entity associated

    13    with you?

    14    A.   Yes.

    15    Q.   And it looks like that check is endorsed on the back by

    16    yourself; correct?

    17    A.   Yes.

    18    Q.   On behalf of Tealstone Properties?

    19    A.   Yes.

    20    Q.   And with regard to that check, the Tealstone Properties

    21    check, do you remember telling agents that that was initially

    22    supposed to be an investment but because you couldn't get the

    23    land you just gave the money back?            Do you remember that?

    24                MR. McDONALD:      Judge, objection.         Can Mr. Fink

    25    identify when Mr. Larson alledgedly said what he just said?


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     1                 THE COURT:    Yes.    Can you do that?

     2                 MR. FINK:    Sure.

     3    BY MR. FINK:

     4    Q.    We've only been talking about the first interview so far;

     5    right?

     6    A.    Right.

     7    Q.    So I'm still referring to the first interview, September

     8    10th, 2019.     Okay?

     9    A.    Yes.

    10    Q.    All right.    Do you recall discussing that with agents in

    11    that first interview, September 10th, 2019, that that money

    12    from Government's Exhibit 13 was initially supposed to be at a

    13    gym but because you couldn't get land you returned the money to

    14    Mr. Tibbitts?      Do you remember telling the agents that?

    15    A.    IT'S possible I did tell him that but I'm not for sure a

    16    hundred percent.

    17    Q.    Well, it was for a gym involvement, was it not, that

    18    Tealstone Properties?

    19    A.    That -- I started that LLC to build a gym in Frisco, Texas,

    20    and I didn't want him to give me a check directly in the bank

    21    that I had, and I believed that I was trying to hide it kind

    22    of.   You know what I mean?

    23    Q.    So what you told to the agents about not being able to get

    24    land, you're saying that's not true?

    25    A.    It wasn't enough money, yes.


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     1    Q.   And the part about returning that money to Mr. Tibbitts,

     2    that wasn't true either?

     3    A.   I never gave him money back, no.

     4    Q.   You do recall telling agents that?

     5    A.   I don't.

     6    Q.   Do you want to watch it, would that help?

     7    A.   I just don't remember it.

     8                MR. FINK:    Judge, I'm a one-man band so if you'll give

     9     me one moment.

    10                THE COURT:     Right, because that's the tape that you

    11     need to be very careful about what you show.

    12                MR. FINK:    I certainly will, and I have the numbers

    13     written so it shouldn't be an issue just other than time.               Bear

    14     with me.    I apologize.

    15                Your Honor, what I propose to play is intended to

    16     refresh recollection.       I suppose I could do it with just the

    17     witness, but if the Government has no objection I would just

    18     play it for his benefit.

    19                THE COURT:     Do you have any objection?

    20                MR. McDONALD:      I don't have any objection.

    21                (Video played.)

    22    BY MR. FINK:

    23    Q.   Does that refresh your recollection, Mr. Larson, about that

    24    Tealstone Properties check?          Do you remember?

    25    A.   Kind of but I was being evasive, yes.


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     1    Q.   I understand that's your position.                I'm just asking about

     2    what you said.     Do you remember it now?

     3    A.   Yes.

     4    Q.   Okay.    And what you said was I couldn't get land; right?

     5    A.   Right.

     6    Q.   For that gym?

     7    A.   Right.

     8    Q.   Now, you went through these various checks in the process

     9    of cashing them with the Government on direct examination.                   Do

    10    you recall that, talking about each check?

    11    A.   Yes.

    12    Q.   Okay.    Went through -- you went through the whole process

    13    with Mr. McDonald?

    14    A.   Yes.

    15    Q.   Do you remember that?

    16    A.   Yes.

    17    Q.   If you want me to put one of these on the screen I will.

    18    I'm going to ask general questions.

    19    A.   Yes.

    20    Q.   But if you want me to put one on the screen, I will do

    21    that.

    22    A.   You don't need to do that.

    23    Q.   Okay.    Mr. Larson, one of the checks was June of 2016.                I

    24    think that was actually the first alleged check cashing.                Do

    25    you remember that being June of 2016?


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     1    A.    I don't remember dates.        How much --

     2    Q.    I remember you said that you're bad with dates.                Two

     3    $50,000 checks for you and two $50,000 checks for Mr. Tocco.

     4    Do you remember that?

     5    A.    Yes.

     6    Q.    And in that first interview, September 10th of 2019, you

     7    were asked about those checks.           Do you remember that?

     8    A.    Yes.

     9    Q.    And you told the agents that you took that cash to your

    10    home to Didani, but from there you don't know what happened to

    11    it.   Do you remember that?

    12    A.    Yes.

    13    Q.    And you didn't know what it was for, right, at that --

    14    during that interview?

    15    A.    Yes, that's true.

    16    Q.    Thank you.

    17                 And then you were asked about a $110,000 check in

    18    October of 2016.      Do you remember that amount?

    19    A.    One hundred ten?

    20    Q.    Maybe -- this is Government's 13 -- oh, that's the

    21    Tealstone check.

    22                 So the Tealstone check, my apologies, the one that we

    23     put up, Government's 13, was $100,000.                That was to the

    24     Tealstone Properties.       Do you remember that?

    25    A.    Yes.


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     1    Q.   And that's the one that you told agents that you returned

     2    to Marty; correct?

     3    A.   Yes.

     4    Q.   And then in March of 2017, this was Government's Exhibit

     5    10, again unless you need it, tell me, this was several $50,000

     6    checks to you and another couple checks to Mr. Tocco for

     7    $50,000.     These were the ones that were cashed at both

     8    Comerica, Harper's and Rose Gold Exchange.                Do you remember

     9    that set of checks?

    10    A.   Yes.

    11    Q.   Okay.    And do you remember saying as to those set of checks

    12    in Government's 10 that you gave the money back to Marty, not

    13    to Didani, and it might have been at Mr. Tibbitts' house.                Do

    14    you remember that?

    15    A.   Yes.

    16    Q.   And then there was a $14,000 check that the Government

    17    showed you was in their Exhibit 14 from December of 2017.                Do

    18    you remember that $14,000 check?

    19                MR. McDONALD:      Objection.      I did not show him a

    20     $14,000 check.

    21    BY MR. FINK:

    22    Q.   Do you recall --

    23                THE COURT:     I honestly don't recall, so rephrase it.

    24                MR. FINK:    I sincerely apologize.            I'm Taking over

    25     here.   I've got to get myself organized.


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     1    BY MR. FINK:

     2    Q.   Do you recall that there was a check for $14,000 that was

     3    given -- that was shown to you during that interview?

     4    A.   Yes.

     5                MR. FINK:    Okay.      Do you have any objection to 14?

     6                MR. McDONALD:        I don't have any objection.

     7                MR. FINK:    You admitted it already?

     8                MR. McDONALD:        Yes.

     9                MR. FINK:    Pull up 14.

    10                THE COURT:     Does it have an exhibit number?

    11                MR. FINK:    This is Government's Exhibit 14, Judge.

    12     It's already admitted.          Do you mind if I publish it?

    13                THE COURT:     No.

    14                MR. FINK:    I see what Mr. McDonald was saying, Judge.

    15     He was saying that he admitted it through another witness, but

    16     it is Government's 14.

    17    BY MR. FINK:

    18    Q.   Do you recognize this, Mr. Larson?

    19    A.   Is that the $14,000?

    20    Q.   It is.     If you can't see it, you can get up.                 Can you see

    21    it from where you're sitting?

    22    A.   Yeah.     I mean, my vision is not that great.

    23    Q.   Well --

    24                THE COURT:     Well, can you see it or not?              If you can't

    25     see it --


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     1    A.   Yeah.    From Marty Tibbitts, yeah, I see it.

     2    BY MR. FINK:

     3    Q.   You see that it says 14,000, right?

     4    A.   Yes, from Marty.

     5                MR. FINK:    Judge, can I stand over here for a moment?

     6                THE COURT:     Yes.

     7    BY MR. FINK:

     8    Q.   And you see that it's made out from Martin and Belinda

     9    Tibbitts; right?

    10    A.   Yes.

    11    Q.   And do you see the memo line or the for line in the corner?

    12    A.   Yes.

    13    Q.   It says, "gym investment"?

    14    A.   Yes.

    15    Q.   When being asked about this by agents, do you remember

    16    telling the agents at that initial interview that you gave it

    17    back to Marty, but you don't really remember it?                     Do you

    18    remember that?

    19    A.   That's accurate.

    20                MR. FINK:    You can take that down.

    21    BY MR. FINK:

    22    Q.   Now, this last batch of checks was December of 2017.                     And I

    23    have a feeling you remember that date, December of 2017; right?

    24    That time period; right?

    25    A.   Yes.


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     1    Q.   This is the flight to Washington.

     2    A.   Right.

     3    Q.   You met a shadowy figure at the airport; right?

     4    A.   I met Lou at the airport.

     5    Q.   At first it was a shadowy figure, was it not?

     6    A.   Is that what I said in the first interview?

     7    Q.   I'm asking you.       Did you?

     8    A.   I could have.

     9    Q.   Do you recall saying that?

    10    A.   No.

    11    Q.   Do you recall saying that it was dark, and the person just

    12    told you to drop the bag on the ground?

    13    A.   Probably right.

    14    Q.   And when you were asked by agents about the trip to

    15    Washington, D.C., do you recall telling them that you didn't

    16    know what the money was for?

    17    A.   Yes.

    18    Q.   You told agents that you were told to fly to D.C., you

    19    didn't ask any questions, and you went back; right?

    20    A.   Right.

    21    Q.   In fact, when you were asked who you met, you told agents

    22    you went there to meet a guy.          Do you remember that?

    23    A.   Yes.

    24    Q.   Now previously with regard to the checks from June of 2016,

    25    that was the first set of checks that me and you talked about.


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     1    Okay.

     2    A.   Okay.

     3    Q.   That was the two $50,000 checks to you and two $50,000

     4    checks to Mr. Tocco the first time.             That's what I'm talking

     5    about.

     6    A.   Okay.    I got it.

     7    Q.   Okay.    You told the agents that you took that cash to Lou;

     8    right?

     9    A.   Yes.

    10    Q.   He took it; right?

    11    A.   Yes.

    12    Q.   And you didn't know what happened thereafter; correct?

    13    A.   Yes.

    14    Q.   So you identified Mr. Didani as taking that first batch of

    15    cash; right?

    16    A.   Right.

    17    Q.   The same interview seven minutes later in your trip to

    18    D.C., you didn't identify Didani as the person you took the

    19    money to, just a guy; right?

    20    A.   Right.

    21    Q.   So you identified him in one instance but didn't identify

    22    him in another; correct?

    23    A.   Right.

    24    Q.   But you're saying that's not true, that it was him in D.C.

    25    you came to tell us later; right?


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     1    A.   Yes.

     2    Q.   Now, the agents at some point -- you guys were -- would it

     3    be fair to say you were collegial with each other; you were

     4    getting along in the interview for a period of time?                 Collegial

     5    being you were friendly; you were speaking casually.                 Is that

     6    fair?

     7    A.   The first interview?

     8    Q.   In the first interview, September 10th of 2019.

     9    A.   I was acting calm.

    10    Q.   Well, the atmosphere was light, was it not?                 I mean, you

    11    were talking about your personal life; correct?

    12    A.   Yes.

    13    Q.   And they were talking about their personal lives; correct?

    14    A.   I don't recollect but okay.

    15    Q.   And at some point Detective Leach, after asking you these

    16    questions and you giving these answers, turns to tone to

    17    suggest to you that he doesn't believe you.                Do you remember

    18    that?

    19    A.   Yes.

    20    Q.   And they started pressing you on where this money went.                   Do

    21    you remember?

    22    A.   Not clearly but okay.

    23    Q.   Generally speaking.

    24    A.   Yes.

    25    Q.   I mean, you remember the tone shifts in the conversation.


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     1    A.   Okay.    Yes.

     2    Q.   And one of the things you told Agent -- Detective Leach in

     3    response to these questions about, you know, suggesting we

     4    don't believe you is that Mr. Tibbitts told you he was buying a

     5    restaurant or a bar in Albania.           Do you remember telling him

     6    that?

     7    A.   Yes.

     8    Q.   Do you remember what the bar or restaurant was called?

     9    A.   No.

    10    Q.   Does Tiku and Matu sound familiar?

    11    A.   I don't speak Albanian, but...

    12    Q.   Well, did you go to it when you were ever in Albania?

    13    A.   No.

    14    Q.   You also told the agents what you told the jury last time

    15    about the pharaoh ruins.         Do you remember telling the agents

    16    about that as well?

    17    A.   Yes.

    18    Q.   And in that context you explained to the agent, correct me

    19    if I'm wrong, that Marty Tibbitts had really varied interests

    20    in the world, did he not?

    21    A.   Yes.

    22    Q.   From pharaoh ruins to World War II airplanes; right?

    23    A.   Yes.

    24    Q.   He spent money on a lot of interesting things, did he not?

    25    A.   Yes.


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     1    Q.   He had an eclectic interest in expensive things; right?

     2    A.   Yes, he did.

     3    Q.   And he liked to share information about those things or

     4    talk about those interests, did he not, Mr. Tibbitts?

     5    A.   Marty was very precise on what he wanted people to know.

     6    Q.   Well, I ask that because you knew quite a bit about the

     7    pharaoh ruins, did you not?

     8    A.   Yeah, from our trip, yes.

     9    Q.   And the purpose of it was to see if Marty could acquire it;

    10    right?

    11    A.   Right.

    12    Q.   Do you know if the world of drug trafficking, narcotic

    13    dealing, has changed since the 1990s when you were first

    14    convicted of that crime?

    15    A.   I mean, I didn't keep up with it because I didn't want

    16    anything to do with it.

    17    Q.   That's what I'm asking.

    18    A.   Yeah, I don't --

    19    Q.   In other words, your knowledge of that world may be from an

    20    earlier time; correct?

    21    A.   Yes.

    22    Q.   Like, for example, you can't tell me the current prices for

    23    a kilo, could you?

    24    A.   Oh, no.

    25    Q.   Okay.


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     1                THE COURT:     I'm sorry.      I didn't hear the answer.

     2    A.   I said no.

     3    BY MR. FINK:

     4    Q.   You can't tell me the current prices for a kilo is what I

     5    asked; right?

     6    A.   Right.

     7    Q.   And you cannot?

     8    A.   No.

     9    Q.   You couldn't tell me what the purchase price is or what the

    10    retail price is; right?

    11    A.   I could not.

    12    Q.   Now you, yourself, have raised money in your life

    13    particularly with trying to build gyms; is that an accurate

    14    statement?

    15    A.   I -- yeah, yes.

    16    Q.   For example, I believe it's true, is it not, that you

    17    raised $80,000 from friends and family to open your gym?

    18    A.   Yes.

    19    Q.   So 50 from one and 10, 10 and 10 from three others;

    20    correct?

    21    A.   Correct, yes.       I thought it was 90, but that's pretty

    22    close.

    23    Q.   I could be imprecise.         But generally speaking what I said

    24    is accurate, you raised money from friends and family for your

    25    gym; right?


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     1    A.   Right.

     2    Q.   And you've had people to go to for legitimate investment,

     3    and that's one example of it; right?

     4    A.   Yes.

     5    Q.   You told the agents about that, that's the only reason I

     6    know about it.     Do you remember telling the agents about that

     7    investment in your gym?

     8    A.   The initial?

     9    Q.   Yeah.

    10    A.   My first --

    11    Q.   I'm sorry.     Yes, the September 10th, 2019.

    12    A.   Yes.

    13    Q.   So you start giving these explanations, Mr. Larson, and if

    14    you recall, tell me is it true, is it not, Detective Leach

    15    continued to increase the pressure on you to tell him things

    16    that he thought you weren't telling him.               Do you remember that?

    17    A.   Yes.

    18    Q.   In fact, he took out a packet and put it on the table and

    19    said I have all your Viber chats right here.                 Do you remember

    20    that or something similar to that?

    21    A.   Yes.

    22    Q.   He put his finger on it and pointed at certain things;

    23    right?

    24    A.   Yes.

    25    Q.   It was a different tone then the first part of the


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     1    interview?

     2    A.   Yes.

     3    Q.   He started kind of blowing off the things you were telling

     4    him about Egypt and knowing about your investments, and he

     5    really wanted to cut to the chase.            Is that an accurate

     6    representation?

     7    A.   Yes.

     8    Q.   Do you recall being told by Detective Leach in this context

     9    that I'm describing, "You can talk to me about other players.

    10    You can have your lawyer contact us.                Or there is going to be

    11    something much heavier coming down the pipeline."                     Do you

    12    remember that?

    13    A.   That's the end of the first interview?

    14    Q.   Yeah, toward the end of the first interview.

    15    A.   Yes.

    16    Q.   How did that make you feel?

    17    A.   Nervous.

    18    Q.   Pressure; right?

    19    A.   Right.

    20    Q.   He had just smacked the photo of the Viber thread, right,

    21    with his finger; right?

    22    A.   I guess so.

    23    Q.   And now he's telling you something much heavier is coming

    24    down the pipeline; right?

    25    A.   Right.


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     1    Q.     Do you remember him asking if you had a normal attorney

     2    that you dealt with?

     3    A.     I do.

     4    Q.     Do you remember him telling you and steering you

     5    potentially away from certain attorneys?

     6    A.     I don't remember that.

     7    Q.     Do you remember him saying that, you know, some people will

     8    point you in a different direction than others.                    Do you

     9    remember any of that conversation?

    10    A.     No.     Sorry.

    11    Q.     That's okay.      Do you remember him saying, "If they are

    12    paying for it, it's usually for a reason."                  Do you remember

    13    that?

    14                 If they are paying for it, and "they" I can't define

    15    for you any more than that.            Do you remember him saying, "If

    16    they are paying for it, it usually is for a reason."                    It being

    17    a lawyer.       Do you remember them saying that?

    18    A.     I don't.

    19    Q.     What does that mean to you just hearing it?                 If they are

    20    paying for it, it's usually for a reason.                  How does that strike

    21    you?

    22    A.     In a criminal proceeding?

    23    Q.     In that context, if a detective in an interview says to you

    24    if they're paying for it, it's usually for a reason, how do you

    25    interpret that?


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     1    A.   Like you have something to hide maybe.

     2    Q.   Like he's steering you toward a specific attorney or away

     3    from certain attorneys; right?

     4    A.   Well, I have attorneys.          I know attorneys.

     5    Q.   Okay.    Now, you remember the picture of Lisa Schmidt;

     6    right?

     7    A.   Yes.

     8    Q.   You were able to identify that picture?

     9    A.   Yes.

    10                MR. FINK:    Your Honor, proposed L from when Mr. Didani

    11     was doing his cross-examination.

    12                THE COURT:     L?

    13                MR. FINK:    L as in Lawrence or Lauren.

    14                I'd ask that this be admitted into evidence as

    15     Defendant's L.

    16                THE COURT:     Any objection?

    17                MR. McDONALD:       No objection.

    18                THE COURT:     Very well.      Defendant's L is admitted.

    19                (Defendant's Exhibit L received into evidence.)

    20    BY MR. FINK:

    21    Q.   I'm going to show you, Mr. Larson, what I'm marking as

    22    Defendant's R.

    23                MR. FINK:    May I approach, Judge?

    24                THE COURT:     You may.

    25    A.   I know who it is.


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     1    BY MR. FINK:

     2    Q.     Let me do it the right way, but I know you know.                  Thank

     3    you.    Mr. --

     4    A.     Oh, I thought you were giving me a different picture.

     5    Q.     Mr. Larson, do you recognize that picture, of who's in that

     6    picture?

     7    A.     It's been a long time.

     8    Q.     Do you recognize him, though?

     9    A.     I recognize the face, but I don't remember which name it

    10    was.

    11    Q.     Okay.   Do you know what his profession is?                 If you don't,

    12    you don't.       It's okay.

    13    A.     No, I don't.

    14    Q.     Do you recall having a conversation with the agents in that

    15    September 2019 interview about a lawyer named Jeff Freeman?

    16    A.     Oh, yes.

    17    Q.     Do you remember that conversation?

    18    A.     Yes.

    19    Q.     Now that I've told you that name, does that face now match

    20    with that name?

    21    A.     I needed -- I needed a name, yes.

    22    Q.     Okay.   I know you're fuzzy with dates and names, but I want

    23    to make sure that it's not just you.                  It's your recollection

    24    that you recognize that face now.

    25    A.     Yes, I remember.


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     1    Q.   Okay.    That's Jeff Freeman?

     2    A.   Yes.

     3    Q.   And he's a Michigan attorney?

     4    A.   Yes.

     5                MR. FINK:    Judge, I'd like to admit that as

     6    Defendant's R.

     7                MR. McDONALD:      No objection.

     8                THE COURT:     Any objection?

     9                MR. McDONALD:      No objection.

    10                THE COURT:     Very well.      R is admitted.

    11                (Defendant's Exhibit R received into evidence.)

    12    BY MR. FINK:

    13    Q.   Do you remember being asked a bunch of questions in that

    14    interview about Jeff Freeman, that first interview of

    15    September 10th?

    16    A.   I don't remember the question about him, no.

    17    Q.   You don't remember them asking about book writing and taxes

    18    and his background checks.         Do you remember that?

    19    A.   Yeah, I remember all that.

    20    Q.   So that topic came up?

    21    A.   Yeah.

    22    Q.   Michigan tax lawyer; right?

    23    A.   Right.

    24    Q.   Okay.    Did you ever meet Mr. Didani's parents?

    25    A.   No.


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     1    Q.     Did he talk about them?

     2    A.     Not really.

     3    Q.     You know they live in Chicago?

     4    A.     Yes.

     5    Q.     You know they're elderly?

     6    A.     Yes.

     7    Q.     Do you remember the agents and detective in that interview

     8    asking about his parents?

     9    A.     I do not.

    10    Q.     Do you remember them asking you if they were somehow

    11    involved in this?

    12    A.     I don't.

    13    Q.     Do you know if there's an elderly woman with cancer?             Are

    14    you aware of that?

    15    A.     I knew she was sick.        He never really went into it.       He got

    16    choked up when he talked about his mom.

    17    Q.     Understood.     Do you remember being asked -- you discussed

    18    this a little bit with Mr. Didani -- about the pills in your

    19    car?

    20    A.     Yes.

    21    Q.     Those weren't narcotics, were they?

    22    A.     Someone planted them in there.            Yes, they were.

    23    Q.     They were narcotics?

    24    A.     Yes -- well, they were like steroids, I think.

    25    Q.     Oh, okay.     So you're saying that the bag you identified had


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     1    steroids in it?

     2    A.   We might be talking about two different situations.

     3    Q.   Well, I don't know if you're talking about a prior arrest.

     4    Tell me what you mean by that.

     5    A.   Oh, Steve Elliott that introduced me to Lou, he played a

     6    con game on me and said he ran into a guy that he didn't know,

     7    but he actually did know him from a long time ago.                   So he said,

     8    hey, I think I overheard this guy saying he planted something

     9    in your car, and he was going to have you pulled over in

    10    Grosse Pointe and they were going to find it.

    11    Q.   All right.     So that has nothing to do with your

    12    September 10th arrest?

    13    A.   No.

    14    Q.   Okay.    So I confused you.        My apologies.

    15    A.   Yeah.    You had -- I didn't know what -- like, that's the

    16    only thing I remember of something being in my car.

    17    Q.   That was not my intention.          My apologies.         What I was

    18    asking about is you had a few Cialis pills on you; correct?

    19    A.   Oh, possibly.

    20    Q.   And that was on the day of your arrest?

    21    A.   Possibly.

    22    Q.   And I don't mean that to embarrass you.

    23    A.   No.

    24    Q.   I mean to --

    25    A.   No, not at all.


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     1                THE COURT REPORTER:        One at a time.

     2                MR. FINK:    That's my fault, Ms. Rice.             I'm sorry.

     3    BY MR. FINK:

     4    Q.   I don't mean that to embarrass you, Mr. Larson.                 I'm asking

     5    if they asked you about threes pills to identify them; correct?

     6    A.   Yes.

     7    Q.   The suggestion being that they didn't know if they were

     8    legal or not; correct?

     9    A.   Right.

    10    Q.   You talked to the agents kind of about Mr. Didani's

    11    lifestyle.     Do you remember that?

    12    A.   Vaguely.

    13    Q.   You said he liked to party; right?

    14    A.   Yes.

    15    Q.   I think you said -- one of the quotes, correct me if I'm

    16    wrong, do you remember saying, "Lou was a kid."                  Do you

    17    remember saying that?

    18    A.   No.

    19    Q.   And you were talking about that in the context of him

    20    liking to go out to clubs.         Do you recall that?

    21    A.   Yes.

    22    Q.   Does that sound familiar now?

    23    A.   Yes.

    24    Q.   Women, drinking, clubs, that kind of stuff; right?

    25    A.   Yes.


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     1    Q.   He liked to spend money doing that?

     2    A.   Right.

     3    Q.   In fact, Marty Tibbitts likes being involved in that

     4    lifestyle too, correct?

     5    A.   Not really.

     6    Q.   You didn't tell agents that he wanted to be part of that?

     7    That was attractive to him?

     8    A.   Well, that's the only thing reason I can think that he got

     9    involved with Lou is -- you know, like, rich people, they want

    10    to like climb mountains when they have too much money in the

    11    freezing cold and possibly die.           I want to drink a Piña Colada

    12    on beach; I don't want to get stung by a manta ray.                     You know

    13    what I mean?

    14               So he just had, like, you know, he wanted -- I guess

    15    they wanted to do live on the edge.             I don't get it.

    16    Q.   I understand.

    17    A.   That's the way Marty was.          That's why he flew those planes.

    18    Q.   That was the explanation behind the suggestion that

    19    Mr. Tibbitts had an interest in that lifestyle, is that what

    20    you're saying now?

    21    A.   Well, yes, but he wasn't like -- I don't know.                    He hid

    22    things that he didn't want anyone to know about.                     Like, you

    23    know, say, for instance, Lou and him were in Albania, and after

    24    Marty died Belinda told me about these escapades with other

    25    women while she was in California.            And I told Lou, and he goes


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     1    there's no way, I don't believe that.               And I said Belinda sent

     2    me the e-mails.      Because when Marty was in Albania Lou tried to

     3    set him up with an Albanian -- a beautiful Albanian woman, and

     4    Marty --

     5    Q.   Let's not go down too far -- I think the point is taken by

     6    the jury.

     7    A.   Okay.

     8    Q.   Let me ask you this.        Is it fair to say that Marty Tibbitts

     9    compartmentalized parts of his life?

    10    A.   Oh, yes.

    11    Q.   From different people?

    12    A.   Oh, yes.

    13    Q.   All right.     So you have this first interview, September

    14    10th of 2019, and that interview ends with agents telling you

    15    you're free to go; right?

    16    A.   Yes.

    17    Q.   And the instruction for them was if you want to tell us

    18    something and stay out of trouble you know how to contact us is

    19    essentially what they said; right?

    20    A.   Yes.

    21    Q.   And you did that, didn't you?

    22    A.   Yes.

    23    Q.   Two days later, right, September 12th of 2019.                  Does that

    24    sound right?

    25    A.   Yes.


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     1    Q.   Okay.    Now, previously -- and this might have to do just

     2    with your fuzziness with dates.           You had mentioned that you had

     3    an attorney at this second meeting, September 12th of 2019.

     4    A.   Yes, he was court appointed.

     5    Q.   Are you certain that you're not conflating that with

     6    another meeting that at that initial meeting with the

     7    government that you may not have had an attorney there, or you

     8    are not sure?

     9               MR. McDONALD:       Hold on one sec.

    10               THE COURT:      I'm not sure I understand your question.

    11               MR. FINK:     Your Honor, if the Court's willing the

    12     parties have a factual stipulation that at that initial

    13     meeting, he did not have an attorney present.

    14               THE COURT:      And that's 9/10?

    15               MR. FINK:     That is 9/12 of 2019.           I said initial but

    16     this was the second meeting.          This was 9/12/2019.           I'll get

    17     into who was there, your Honor, but the factual stipulation is

    18     Mr. Larson did not have an attorney at that meeting.

    19               THE COURT:      On 9/12?

    20               MR. FINK:     On 9/12/2019.

    21               THE COURT:      Okay.

    22               MR. McDONALD:       I agree.

    23               MR. FINK:     Mr. McDonald said he agrees.

    24               THE COURT:      So noted for the record, and they jury may

    25     consider that as evidence in the case.


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     1               MR. FINK:     Thank you, your Honor.

     2    BY MR. FINK:

     3    Q.   And, Mr. Larson, that's not to say you're being misleading,

     4    it's just there's several meetings probably and they get

     5    conflated.

     6               At this first meeting, if you think back to it, do you

     7    recall having a meeting where it was the prosecutors, you and

     8    agents and no attorney?        Do you recall a meeting?

     9    A.   Right.

    10               MR. McDONALD:       Judge, objection.

    11               I'm sorry, Mr. Fink, but again he's not being clear

    12     about which meeting.       In his initial question here he just said

    13     at that first meeting.

    14               THE COURT:      Right.

    15               MR. McDONALD:       So I'd ask Mr. Fink to be a little more

    16     specific for the witness.

    17               MR. FINK:     He's right.       I'll --

    18               THE COURT:      It sounds like you're referring to the

    19     9/10 meeting.

    20               MR. FINK:     I'm being imprecise, Judge.             Let me

    21     rephrase it, if I can?

    22               THE COURT:      You may.

    23    BY MR. FINK:

    24    Q.   On September 12th, the second meeting, two days after that

    25    arrest date where you met with agents, there was a second


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     1    meeting.     Do you remember that?

     2    A.   I don't.

     3    Q.   How about this:       Do you recall that there was a meeting,

     4    regardless of the date or how far it was from the first

     5    meeting, do you recall that there was another meeting where you

     6    met these two gentlemen that I'm pointing to right now,

     7    Mr. Bilkovic and Mr. McDonald, and agents?                Do you recall that?

     8    Or at least Mr. Bilkovic was present.               Do you remember that?

     9    A.   No.     I remember that I thought I wasn't going to say

    10    anything without an attorney, so I thought everything after the

    11    first meeting I did have a court-appointed attorney.                 That's

    12    what my recollection is.         So I'm not too -- I'm really fuzzy on

    13    the second meeting if I didn't have an attorney there.

    14    Q.   I understand, and I don't want you to say anything that you

    15    don't remember.      Regardless of the attorney's presence, do you

    16    remember meeting Mr. Bilkovic for the first time?

    17    A.   I do.

    18    Q.   There was a meeting with Mr. Bilkovic being present, among

    19    others; correct?

    20    A.   Yes.

    21    Q.   Okay.     And that was shortly after the 9/0 initial meeting

    22    following your arrest; right?

    23    A.   Yeah, I -- I'm fuzzy on that date too.

    24    Q.   Totally fine.      But within days of that first meeting;

    25    right?


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     1    A.   Yes.

     2                MR. FINK:    All right.      Your Honor, previously marked

     3    was Defendant's proposed M, which has been taken to the

     4    witness.    Can I approach with it and lay a little more

     5    foundation on it?

     6                THE COURT:     Yes.

     7                MR. BILKOVIC:      Can you identify with him?

     8                MR. FINK:    I sure can.

     9                May I, Judge?

    10                THE COURT:     Yes.

    11    BY MR. FINK:

    12    Q.   Mr. Larson, do you remember briefly looking at this earlier

    13    on cross?

    14    A.   Yes.

    15    Q.   This is the one that was doubled-sided.                You had to

    16    double-check; remember?

    17    A.   All right.

    18    Q.   Do you remember it now?

    19    A.   Yes.

    20    Q.   And that is a letter addressed to you; correct?

    21    A.   Yes.

    22    Q.   And at the top it is identified as being from the United

    23    States Attorney's Office for the Eastern District of Michigan;

    24    is that correct?

    25    A.   Yes.


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     1    Q.   And it is dated September 12th of 2019; correct?

     2    A.   Yes.

     3    Q.   And do you have any reason to believe that's not the same

     4    exact letter that received that day?

     5    A.   It is the same.

     6                MR. FINK:    Okay.     Judge, I'd asked that that be

     7     entered as Defendant's M.

     8                THE COURT:     Any objection?

     9                MR. McDONALD:      I think it's already admitted, your

    10     Honor.

    11                THE COURT:     I'm sorry?

    12                MR. McDONALD:      I think that exhibit has already been

    13     admitted by Mr. Didani earlier.

    14                THE COURT:     Well, there were some.           I know there was L

    15     and M, and I have a note whether or not they were admitted or

    16     he just proposed them.

    17                MR. McDONALD:      Even if it's not admitted, no, I have

    18     no objection.

    19                THE COURT:     All right.      It's admitted.        It is admitted

    20     as --

    21                (Defendant's Exhibit M received into evidence.)

    22                MR. FINK:    Thank you, your Honor.

    23                May I publish it, Judge?

    24                THE COURT:     Yes.

    25                MR. FINK:    I'm sorry, your Honor.            I found it.   It was


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     1     a little USB drive evading me.

     2    BY MR. FINK:

     3    Q.   Mr. Larson, I put up on the screen --

     4                Could you scroll to the top, Mr. Didani?

     5                I put on the screen this letter that we just admitted.

     6    Do you see that -- may I approach the -- to point, Judge?

     7                THE COURT:     You may.

     8                MR. FINK:    You know what, I think I actually have --

     9     to be cool like the Government, I think I have a laser.

    10    BY MR. FINK:

    11    Q.   Do you see up here this is the letter that we're talking

    12    about from the Department of Justice, Mr. Larson?

    13    A.   Yes.

    14    Q.   And here where I'm pointing with the laser, it's addressed

    15    to you?

    16    A.   Yes.

    17    Q.   And it's on September 12th of 2019, yes?

    18    A.   Yes.

    19    Q.   And it's from Mr. Mark Bilkovic, the U.S. Attorney in this

    20    case; correct?

    21    A.   Yes.

    22    Q.   Okay.    And this letter begins by saying that you wish to

    23    provide information to the government.               Do you see that in the

    24    first sentence?

    25    A.   In number 1, yes.


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     1                Oh, the first sentence?         Yes.

     2    Q.   It says you have advised that you wish to meet with the

     3    United States Attorney's Office to provide information in a

     4    proffer.     Do you see that?

     5    A.   Yes.

     6                THE COURT:     Do you have the copy up there with you?

     7    A.   I do.

     8                THE COURT:     Okay.    All right.         Go ahead.

     9                MR. FINK:    Would you scroll down, Mr. Didani.          Okay.

    10     Go back up to number 2.        Right there.

    11    BY MR. FINK:

    12    Q.   Do you see paragraph 2, Mr. Larson?

    13    A.   Yes.

    14    Q.   And the purpose of this meeting, and you can take your time

    15    to read this, essentially is for you to provide information and

    16    for the office to assess the credibility of that truthful

    17    information and what they'll do with it should they decide to

    18    use it in a certain way.         And you can take your time to read

    19    it, but is that generally --

    20    A.   I'm on it.

    21    Q.   -- the promises?

    22    A.   Yes.

    23    Q.   And in number 3 do you see it says, "No promises or

    24    favorable consideration."          Do you see that?

    25    A.   Yes.


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     1    Q.   And at this time the government wasn't promising you

     2    anything specific; is that accurate?

     3    A.   Yes.

     4    Q.   At least that's what purported in this letter?

     5    A.   Yes.

     6                MR. FINK:    Scroll down, Mr. Didani.            Right there is

     7     good.     Stop right there.

     8    BY MR. FINK:

     9    Q.   Do you see number 7, Mr. Larson, is restrictions on the use

    10    of your proffer statement.         Do you see that?

    11    A.   Yes.

    12    Q.   And what they define that to mean is, except as otherwise

    13    written in this agreement, that they will not offer any

    14    statements that you made to the office in their case in chiefs

    15    in any criminal prosecution of you.             Do you see that?

    16    A.   Yes.

    17    Q.   Essentially we in the law like to call this king or queen

    18    for a day.     Have you ever heard that phrase before?

    19    A.   No.

    20    Q.   Did you understand this to mean when you signed it that

    21    anything you said to them couldn't be used against you?

    22    A.   Yes.

    23    Q.   And in the second paragraph there are some exceptions to

    24    that, that if you are indeed prosecuted there's certain ways

    25    which they can use the statements at sentencing but not to


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     1    prove their case against you in a prosecution.                 Does that sound

     2    like a fair explanation of what you understood?

     3    A.   Yes.

     4                MR. FINK:    Okay.     Scroll down, Mr. Didani.

     5    BY MR. FINK:

     6    Q.   Do you see paragraph 8-B, derivative use of information?

     7    A.   Yes.

     8    Q.   And that says there's no restriction on this office's use

     9    of any evidence derived directly or indirectly from your

    10    proffered statements.        Do you see that?

    11    A.   Yes.

    12    Q.   Did you understand that to mean that whatever you told them

    13    they could use it to go find more evidence; correct?

    14    A.   I didn't know that.

    15    Q.   That's okay.       What did you understand about what happened

    16    if you didn't tell the truth?

    17    A.   That -- that this agreement was null and void.

    18    Q.   Now, do you see that --

    19                MR. FINK:    Actually, Mr. Didani, I'm sorry to do this

    20    to you.     Go up to where it says, "polygraph examination."              Keep

    21    going.    Keep going.     Go back down.       There.      Paragraph 6.

    22    BY MR. FINK:

    23    Q.   Go to paragraph 6, if you don't mind, Mr. Larson.

    24    A.   I'm on it.

    25    Q.   "Obligations to submit to a polygraph examination."                 Tell


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     1    me if I'm reading this correctly.            "At the option of this

     2    office, that being the prosecutor, you will be given a

     3    polygraph examination to verify the truthfulness and

     4    completeness of any proffered statement.                The office shall have

     5    the exclusive right to choose the examiner."                 Do you see that?

     6    A.   Yes.

     7    Q.   Okay.    Without revealing any results, were you ever given a

     8    polygraph?

     9    A.   I was not.

    10                MR. FINK:    Can you scroll down, Mr. Didani, back to

    11    where we were?

    12    BY MR. FINK:

    13    Q.   Do you see paragraph 9-B?

    14    A.   Yes.

    15    Q.   "If the results of a polygraph examination or conversations

    16    with the polygraph examiner indicate you have not been

    17    truthful, then the office --" it says there are no restrictions

    18    on the use of your proffered statement.                Do you see that?

    19    A.   Yes.

    20    Q.   In other words, if you fail the polygraph examination they

    21    could revoke this deal; right?

    22    A.   Yes.

    23    Q.   But you never took one?

    24    A.   I did not.

    25                MR. FINK:    You can take that down, Mr. Didani.              You


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     1     can put that aside.

     2    BY MR. FINK:

     3    Q.   Thank you, Mr. Larson.

     4                So you had this meeting with Mr. Bilkovic present and

     5     agents on September 12th of 2019 --or -- yeah, '19; right?

     6                MR. BILKOVIC:      Yeah.

     7    BY MR. FINK:

     8    Q.   2019; correct?

     9    A.   Yes.

    10    Q.   And in that meeting with the Government you told a much

    11    different story; is that accurate?

    12    A.   I probably did.

    13    Q.   This time it was a lot of the things that you shared on

    14    direct examination; correct?

    15    A.   Yes.

    16    Q.   Did they promise you that they would do anything for you --

    17    A.   No.

    18    Q.   Hold on.    Hold on.

    19                Did they promise you they would do anything for you if

    20    you gave them information on Mr. Didani?

    21    A.   No.

    22    Q.   Did you expect them to do something for you if you gave

    23    information on Mr. Didani?

    24    A.   At some point, yes.

    25    Q.   Like, down the road?


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     1    A.   Yes.

     2    Q.   How far down the road?

     3    A.   I don't -- I have no idea.

     4    Q.   Maybe if it resulted in a conviction or something?

     5    A.   There was no specifics.         I just -- you know, if I gave

     6    truthful information that it can't be used against me, so --

     7    Q.   You were hopeful for consideration though; right?

     8    A.   Yes.

     9    Q.   You wanted to not be in trouble, for lack of a better way

    10    to phrase it; right?

    11    A.   Yes.

    12    Q.   So you're telling me on that date, September 12th, 2019, no

    13    express promise was made to you?

    14    A.   Right.

    15                MR. FINK:    Judge, I'd like to approach with what I'm

    16     marking Defendant's proposed S.

    17                THE COURT:     Okay.

    18                MR. FINK:    And Defendant's proposed -- I say my A, B

    19     and Cs with my daughter every night but --

    20                THE COURT:     T.

    21                MR. FINK:    And Defendant's U.            May I, Judge?

    22                THE COURT:     Yes.

    23    BY MR. FINK:

    24    Q.   All right.     Mr. Larson, I had to write on these so I'm

    25    going to separate Defendant's S, Defendant's T and Defendant's


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     1    U.   Okay.    I'll ask about them one at a time.

     2                 Can you look at Defendant's S first?

     3    A.   S?

     4    Q.   Yes, S as in Sam.

     5    A.   Yes.

     6    Q.   Does that appear to be a letter addressed to you?               If you

     7    remember it or not, that's okay.            I'm asking right now does it

     8    appear to be a letter addressed to you?

     9    A.   It's addressed to me, yes.

    10    Q.   Does it have your correct address at the time listed on the

    11    letter?

    12    A.   Yes.

    13    Q.   Okay.     And is it from the United States Attorney's Office?

    14    A.   It is.

    15    Q.   And you don't recall receiving this letter?

    16    A.   I do not.

    17                 MR. FINK:    Judge, this being from discovery, I don't

    18    know that I'll get an objection, but I'm asking this be

    19    admitted as Defendant's S.

    20                 THE COURT:    Any objection?

    21                 MR. McDONALD:     No objection.

    22                 THE COURT:    Very well.      It's admitted as S.

    23                 (Defendant's Exhibit S received into evidence.)

    24                 MR. FINK:    May I publish it, Judge?

    25                 THE COURT:    Yes.


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     1    BY MR. FINK:

     2    Q.   Mr. Larson, I recognize that you're saying that you don't

     3    necessarily remember it.         However, being admitted as Exhibit S,

     4    would you agree with me that this letter purports to tell you

     5    on September 17th of 2019 from Mr. Bilkovic that this letter

     6    says, "This is to inform you that the complaint and warrant

     7    against you in the above-captioned case has been dismissed

     8    without prejudice."       Do you see that sentence?

     9    A.   I do.

    10    Q.   And it says, "I have enclosed a copy of the Government's

    11    motion to dismiss the complaint and the order dismissing the

    12    complaint without prejudice."          Do you see that?

    13    A.   I do.

    14               MR. FINK:     Unplug that for a second, Mr. Didani.

    15    BY MR. FINK:

    16    Q.   Now, go, if you could, Mr. Larson, to Defendant's proposed

    17    T and U.

    18    A.   T?

    19    Q.   T and U.    I'm going to start singing the ABCs.                T and U.

    20               Do you recognize Defendant's T, Mr. Larson?                The first

    21    question is, do you personally recognize it?

    22    A.   This was a week before the first meeting.

    23    Q.   What's the date on it?

    24    A.   The 5th of September 2019.

    25               MR. FINK:     May I approach, Judge?


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     1                  THE COURT:    Yes.

     2    A.     Oh, it says a complaint was issued right here, September?

     3    BY MR. FINK:

     4    Q.     So, Mr. Larson, you just said something about September

     5    5th.    I believe you're reading the body of the exhibit.

     6    A.     Right.

     7    Q.     But, generally speaking, do you recognize this document?

     8    Let me start with that.

     9    A.     I really don't.

    10    Q.     Okay.    Is the document labeled as a motion and brief to

    11    dismiss a complaint without prejudice, something similar?

    12    A.     Yes.

    13    Q.     Okay.    And the date on the last page?

    14    A.     The 18th.

    15    Q.     It says September 18th; correct?

    16    A.     Yes.

    17    Q.     Now, it also says 2018; right?

    18    A.     Yes.

    19    Q.     But the front page where the caption of the case is starts

    20    with the number 19; is that correct?

    21    A.     Right.

    22    Q.     Okay.    Now, look at Defendant's U.             You can set that down

    23    and look at Defendant's U.          Do you recognize this document?

    24    Start with that initial question if you recognize it.

    25    A.     I don't remember seeing this.


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     1    Q.   Okay.    Does that appear to be an order from the Court

     2    dismissing a criminal complaint without prejudice against you?

     3    A.   Yes.

     4    Q.   And what's the date of it?          It should be by the --

     5    A.   September 29th, 2019.

     6    Q.   Okay.    And signed by a judge?

     7    A.   Yes.

     8                MR. FINK:    Judge, I'd ask these be admitted as

     9    Defendant's T and U.

    10                MR. McDONALD:      No objection.

    11                THE COURT:     All right.      They are admitted as T and U.

    12                (Defendant's Exhibits T and U received into evidence.)

    13                MR. FINK:    I'm going to put -- Judge, I'm going to put

    14     up, with your permission, Defendant's U.               Is that okay, Judge?

    15                THE COURT:     Yes.

    16    BY MR. FINK:

    17    Q.   This is Defendant's U that I showed you, Mr. Larson, on the

    18    screen; right?

    19    A.   Yes, sir.

    20    Q.   And this shows that the complaint against you was

    21    dismissed?

    22    A.   Without prejudice, yes.

    23    Q.   Okay.    Now, September 12th, 2019, was your meeting with

    24    Mr. Bilkovic.     Do you agree with me on that?

    25    A.   Yes.


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     1    Q.   Okay.    And the cover letter explaining to you from the

     2    Government that they would be dimming this was what date?                That

     3    was Defendant's S.       What's the date of Defendant's S?           That was

     4    the first one.

     5    A.   The first one?      September 17th, 2019.

     6    Q.   Okay.    Five days after the meeting; right?

     7    A.   Yeah.

     8    Q.   All right.     So you're arrested on September 10th, 2019;

     9    correct?

    10    A.   Yes.

    11    Q.   You meet with agents, and you give an interview; right?

    12    A.   Yes.

    13    Q.   Two days later you meet with the prosecutor and agents on

    14    September 12th of 2019; right?

    15    A.   Yes.

    16    Q.   And you said you weren't promised anything; right?

    17    A.   Yeah.    As far as -- as far as I remember --

    18    Q.   It's just a yes or you don't remember being promised

    19    anything; right?

    20    A.   Right.

    21    Q.   And then five days later a federal complaint for narcotics

    22    complaint against you is dismissed; is that correct?

    23    A.   From the paperwork, yes.          One thing I don't --

    24    Q.   That's all I asked.        I appreciate it, Mr. Larson.

    25    A.   Okay.


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     1               THE COURT:      Okay.    I think this is our stopping point.

     2               MR. FINK:     Okay.

     3               (End of excerpt at 3:48 p.m.)

     4                                         _ _    _

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     6

     7

     8                          CERTIFICATE OF COURT REPORTER

     9

    10               I, Sheila D. Rice, Official Court Reporter of the

    11     United States District Court, Eastern District of Michigan,

    12     appointed pursuant to the provisions of Title 28, United States

    13     Code, Section 753, do hereby certify that the foregoing pages

    14     is a correct transcript from the record of proceedings in the

    15     above-entitled matter.

    16

    17

    18                               s/Sheila D. Rice
                                     Sheila D. Rice, CSR-4163, RPR, RMR, FCRR
    19                               Federal Official Court Reporter
                                     United States District Court
    20                               Eastern District of Michigan

    21
          Date: 04/11/2025
    22    Detroit, Michigan.

    23

    24

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